        Case 3:20-cv-05920-LB Document 49-4 Filed 09/26/22 Page 1 of 4




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16 Attorneys for Defendants
17                                UNITED STATES DISTRICT COURT
18                              NORTHERN DISTRICT OF CALIFORNIA
19
20    LOUIS BERYL,                                         Case No.: 3:20-cv-05920-LB
21                            Plaintiff,                   JOINT PROPOSED VOIR DIR QUESTIONS
22                    vs.                                  Date:       October 24, 2022
                                                           Time:       9:00 a.m.
23    NAVIENT CORPORATION, NAVIENT
      SOLUTIONS, LLC, EARNEST, LLC, and the
24    NAVIENT CORPORATION EXECUTIVE
      SEVERANCE PLAN FOR SENIOR
25    OFFICERS EFFECTIVE MAY 1, 2014
26                            Defendants.
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                                       JOINT PROPOSED VOIR DIR QUESTIONS
        Case 3:20-cv-05920-LB Document 49-4 Filed 09/26/22 Page 2 of 4




 1          Plaintiff Louis Beryl and Defendants Navient Corporation, Navient Solutions, LLC, and

 2 Earnest, LLC hereby submit their Joint Proposed Voir Dire questions:
 3          1.      Is there anything about the anticipated length or daily schedule of trial that presents

 4 a problem, whether it be personal, business, or health, that is significant enough that you feel the
 5 need to be excused from service on this jury?
 6          2.      Do any of you know, or think you might know, me or any of the members of my

 7 staff or the courtroom clerk?
 8          3.      Do any of you know, or think you might know, counsel or any member of
 9 counsel’s law firms?
10          4.      Do any of you know, or think you might know, the plaintiff, and or any member of

11 his family?
12          5.      Have any of you had dealings with any of Defendants?

13          6.      Have you, or any members of your family or close friends, ever been involved in

14 any way in a case such as this?
15          7.      Is there anything about the nature of this case that would make it difficult for any of

16 you to serve as a fair and impartial juror?
17          8.      I am now going to read a list of witnesses who may be called to testify during the

18 trial. All of these persons may not be called to testify, but any of them might be. Please raise your
19 hand if you know, or think you might know, any of these people.
20          9.      Have any of you, or has anyone in your family, ever studied or practiced law?

21          10.     Have any of you, or has anyone in your family, ever worked in the student loan

22 industry?
23          11.     Have you ever served on a civil or criminal trial or on a grand jury before? If so,

24 how many times? Where? What was the nature of the case? Did you reach a verdict?
25          12.     Have you or any member of your immediate family ever been a party, that is a

26 plaintiff or defendant, in a civil lawsuit, arbitration, or administrative proceeding?
27          13.     Have you or any member of your immediate family ever been a witness in a court

28 case?

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                                      JOINT PROPOSED VOIR DIR QUESTIONS
        Case 3:20-cv-05920-LB Document 49-4 Filed 09/26/22 Page 3 of 4




 1          14.     Have you or any members of your family ever been involved in a claim for

 2 damages and/or a lawsuit? If yes, please describe the circumstances, including how you felt about
 3 the lawsuit.
 4          15.     Have you or anyone in your family ever had a significant dispute with an

 5 employer?
 6          16.     Have you or an immediate family member ever been involved in an employment-

 7 related lawsuit of any kind? If yes, please describe the nature of the lawsuit and how it was
 8 resolved.
 9          17.     Where do you get your news from?

10          18.     Do you belong to any social or activist organizations? If so, which ones?

11          19.     Is there anyone who would be unable to follow the law as given in the instructions?

12 Is there anyone who would be unable to disregard his or her own notions or ideas about what the
13 law is or ought to be?
14          20.     If selected to sit on this case, would any of you be unable or unwilling to render a

15 verdict solely on the evidence presented at trial?
16          21.     Do any of you know other members of the jury panel?

17          22.     Is there any other reason I have not asked about that would make it difficult for you

18 to serve as a juror on this case and return a verdict based only on the evidence and the instructions
19 of law I will give you?
20
21 Dated: September 26, 2022                      VENTURA HERSEY & MULLER LLP

22
23                                         By:
                                                  DANIEL J. MULLER
24                                                Attorneys for Plaintiff Louis Beryl

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26 [SIGNATURES CONTINUED ON NEXT PAGE]
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                                      JOINT PROPOSED VOIR DIR QUESTIONS
         Case 3:20-cv-05920-LB Document 49-4 Filed 09/26/22 Page 4 of 4




 1 Dated: September 26, 2022               JACKSON LEWIS P.C.

 2
 3                                  By:
                                           DONALD P. SULLIVAN
 4                                         Attorneys for Defendants
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                                JOINT PROPOSED VOIR DIR QUESTIONS
